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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

ROTHSCHILD PATENT                   §
IMAGING LLC,                        §                 Case No: 4:22-cv-01046
                                    §
      Plaintiff,                    §                  PATENT CASE
                                    §
vs.                                 §                 JURY TRIAL DEMANDED
                                    §
MEDIAFIRE, LLC,                     §
                                    §
      Defendant.                    §
___________________________________ §

                                           COMPLAINT

       Plaintiff Rothschild Patent Imaging LLC (“Plaintiff” and/or “RPI”) files this original

Complaint against MediaFire, LLC (“Defendant” and/or “MediaFire”) for infringement of

United States Patent No. 8,437,797 (“the ‘797 Patent”).

                               PARTIES AND JURISDICTION

       1.      This is an action for patent infringement under Title 35 of the United States Code.

Plaintiff is seeking injunctive relief as well as damages.

       2.      Jurisdiction is proper in this Court pursuant to 28 U.S.C. §§ 1331 (Federal

Question) and 1338(a) (Patents) because this is a civil action for patent infringement arising

under the United States patent statutes.

       3.      Plaintiff is a Texas limited liability company having an address at 1 East Broward

Boulevard, Suite 700, Ft. Lauderdale, FL 33301.

       4.      On information and belief, Defendant is a Texas limited liability company with a

place of business at 6606 FM 1488 Rd, STE 148-322 Magnolia, TX 77354-2544. On information

and belief, Defendant may be served through its registered agent, Derek Labian, 4200 Research




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Forest Dr., STE 270, The Woodlands, TX 77381.

        5.       On information and belief, this Court has personal jurisdiction over Defendant

because Defendant has committed, and continues to commit, acts of infringement in this District,

has conducted business in this District, and/or has engaged in continuous and systematic

activities in this District.

        6.       On information and belief, Defendant’s instrumentalities that are alleged herein

to infringe were and continue to be used, imported, offered for sale, and/or sold in this District.

                                              VENUE

        7.       Venue is proper in this District pursuant to 28 U.S.C. § 1400(b) because

Defendant is deemed to reside in this District. Alternatively, acts of infringement are occurring

in this District and Defendant has a regular and established place of business in this District.

                                   COUNT I
              (INFRINGEMENT OF UNITED STATES PATENT NO. 8,437,797)

        8.       Paragraphs 1-7 are incorporated herein.

        9.       This cause of action arises under the patent laws of the United States and, in

particular, under 35 U.S.C. §§ 271, et seq.

        10.      Plaintiff is the owner by assignment of the ‘797 Patent with sole rights to enforce

the ‘797 patent and sue infringers.

        11.      A copy of the ‘797 Patent, titled “Wireless Image Distribution System and

Method,” is attached hereto as Exhibit A.

        12.      The ‘797 Patent is valid, enforceable, and was duly issued in full compliance with

Title 35 of the United States Code.

        13.      On information and belief, Defendant has infringed and continues to infringe one

or more claims (at least by having its employees, or someone under Defendant's control, test the



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accused product), including at least Claim 16 of the ‘797 Patent by making, using, importing,

selling, and/or offering for sale network storage systems including hardware, software and

firmware, covered by at least Claim 16 of the ‘797 Patent.

       14.     On information and belief, Defendant sells, offers to sell, and/or uses network

storage systems and methods including, without limitation, the MediaFire photo, media, and file

storage and sharing system, the MediaFire App, and any similar products (“Product”), which

infringe at least Claim 16 of the ‘797 Patent.

       15.     The Product uses an image capturing device to perform a method. The Product

receives and filters photographic images from cameras. The Product also shares the images

according to certain conditions. Certain aspects of this element are illustrated in the screenshots

below, and/or the screenshots provided in connection with other elements discussed herein.




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       16.     The Product practices receiving a plurality of images. For example, the Product

provides for receiving multiple photos from a user device and receiving the photos in a photo

library. The Product’s app can access captured images (e.g., images stored on a smartphone) and

allow a user to transfer the images to other users. Certain aspects of this element are illustrated

in the screenshots below, and/or the screenshots provided in connection with other elements

discussed herein.




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        17.     The Product practices filtering the plurality of photographic images (e.g., sorting

the photos) using a transfer criteria (e.g., users select the images they wish to share, etc.). Certain

aspects of this element are illustrated in the screenshots below, and/or the screenshots provided

in connection with other elements discussed herein.




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       18.     The Product practices transmitting, via a wireless transmitter and to a second

image capturing device, the filtered plurality of photographic images. For example, files of

filtered photos can be shared with other mobile devices. The Product enables a user to search,

download, and share photos to a second image capturing device (e.g., another mobile device or

a computer). Certain aspects of this element are illustrated in the screenshots below, and/or the

screenshots provided in connection with other elements discussed herein.




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       19.     When using the Product to share photos with a group (e.g., social media group or

private group), the image capturing device and the second mobile device are disposed in a

selectively paired relationship with one another based upon an affinity group associated with the

second mobile device (e.g., the users of both devices belong to the same social media group and

may send images to each other as well as other users). Certain aspects of this element are

illustrated in the screenshots below, and/or the screenshots provided in connection with other

elements discussed herein.




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          20.   Defendant’s actions complained of herein will continue unless Defendant is

enjoined by this Court.

          21.   Defendant’s actions complained of herein are causing irreparable harm and

monetary damage to Plaintiff and will continue to do so unless and until Defendant is enjoined and

restrained by this Court.

          22.   Plaintiff is in compliance with 35 U.S.C. § 287.

                                           JURY DEMAND

          23.   Under Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff respectfully

  requests a trial by jury on all issues so triable.

                                     PRAYER FOR RELIEF

          WHEREFORE, Plaintiff asks the Court to:

          (a)   Enter judgment for Plaintiff on this Complaint on all causes of action asserted

herein;



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       (b)       Enter an Order Enjoining Defendant, its agents, officers, servants, employees,

attorneys, and all persons in active concert or participation with Defendant who receive notice of

the order from further infringement of United States Patent No. 8,437,797 (or, in the alternative,

awarding Plaintiff a running royalty from the time of judgment going forward);

       (c)       Award Plaintiff damages resulting from Defendant’s infringement in accordance

with 35 U.S.C. § 284;

       (d)       Award Plaintiff pre-judgment and post-judgment interest and costs; and

       (e)       Award Plaintiff such further relief to which the Court finds Plaintiff entitled under

law or equity.



Dated: March 31, 2022.                         Respectfully submitted,


                                               /s/ Jay Johnson
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